USCA4 Appeal: 24-1442      Doc: 14         Filed: 08/26/2024    Pg: 1 of 2




                                            UNPUBLISHED

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                              No. 24-1442


        JANEKA PURANDA, Woman,

                            Plaintiff - Appellant,

                     v.

        JARED NEAHUSAN, in his personal capacity and in his official capacity as Deputy
        Sheriff of Loudoun County,

                            Defendant - Appellee.



        Appeal from the United States District Court for the Eastern District of Virginia, at
        Alexandria. Patricia Tolliver Giles, District Judge. (1:23-cv-01536-PTG-LRV)


        Submitted: August 22, 2024                                        Decided: August 26, 2024


        Before WILKINSON, WYNN, and RICHARDSON, Circuit Judges.


        Affirmed by unpublished per curiam opinion.


        Janeka Puranda, Appellant Pro Se. Alexander Francuzenko, Philip Corliss Krone,
        COOK CRAIG &amp; FRANCUZENKO, PLLC, Fairfax, Virginia, for Appellee.


        Unpublished opinions are not binding precedent in this circuit.
USCA4 Appeal: 24-1442      Doc: 14         Filed: 08/26/2024      Pg: 2 of 2




        PER CURIAM:

               Janeka Puranda appeals the district court’s order dismissing her civil action after

        abstaining pursuant to Younger v. Harris, 401 U.S. 37 (1971), and denying as moot her

        motion for injunctive relief. We have reviewed the record and find no reversible error.

        Accordingly, we affirm the district court’s order.                Puranda v. Neahusan,

        No. 1:23-cv-01536-PTG-LRV (E.D. Va. Apr. 15, 2024). We dispense with oral argument

        because the facts and legal contentions are adequately presented in the materials before this

        court and argument would not aid the decisional process.

                                                                                        AFFIRMED




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